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8
9                                UNITED STATES DISTRICT COURT
10
                                      DISTRICT OF ARIZONA
11
      John A. Sova,                            Case No.:
12
                    Plaintiff,
13                                              NOTICE OF REMOVAL
             v.
14
15    Francis A. Bijak; Premier Dist. Inc.,

16                 Defendants.

17
18
            Pursuant to 28 U.S.C. §§ 1331, 1367, 1441, and 1446, and Local Rule 3.6 of the
19
     Rules of Practice and Procedure of the U.S. District Court for the District Court of
20
     Arizona, Defendants Francis A. Bijak and Premier Distributors, Inc. (named as Premier
21
     Dist. Inc.) (“Defendants”) remove this Action to the U.S. District Court for the District
22
     of Arizona on the following grounds:
23
            1.     Plaintiff John A. Sova (“Plaintiff”) filed this civil action in the Arizona
24
     Superior Court, Maricopa County, Case No. CV2021-090903, with the above caption.
25
            2.     Pursuant to Local Rule 3.6 of the Federal Rules of Practice of the District
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     Court for the District Court of Arizona, the following documents are attached as
27
     Exhibits A - F and constitute a complete copy of the file in the Arizona Superior Court,
28
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 1 Maricopa County file number CV2021-090903:
 2                a.     The most recent state court docket (Exhibit A);
 3                b.     The operative complaint (Exhibit B);
 4                c.     Service documents (Exhibit C);
 5                d.     Certificate of Compulsory Arbitration (Exhibit D);
 6                e.     The Civil Coversheet (Exhibit E)
 7          3.    Pursuant to LRCiv 3.6(b), undersigned counsel verifies that, to the best of
 8 his knowledge and belief, the documents attached as Exhibits A-E to this notice are true
 9 and complete copies of all pleadings and other documents filed in the state court
10 proceeding.
11          4.    Plaintiff served Defendants with copies of the Summons and Complaint
12 on March 10, 2021.
13          5.    This Notice is being filed within thirty days of Defendant’s receipt of
14 service of the Summons and Complaint. Thus, this notice is timely filed under 28
15 U.S.C. § 1446(b).
16          6.    There are currently no pending or undecided motions before the state
17 court.
18          7.    Contemporaneously with this filing, Defendants are also filing a Notice of
19 Filing of Notice of Removal with the Clerk of the Superior Court of the State of
20 Arizona, in the County of Maricopa. Defendants, on this same date, have provided
21 written notice of this filing to Plaintiff, as required under 28 U.S.C. § 1446 and Local
22 Rule 3.6, attached as Exhibit F.
23          8.    This is a civil action over which this Court has original jurisdiction under
24 28 U.S.C. § 1331, and which is removable to this Court pursuant to the provisions of 28
25 U.S.C. §§ 1441(a) and (c) based on federal question jurisdiction. Federal question
26 jurisdiction exists because Plaintiff alleges violations of federal law. Specifically, the
27 Plaintiff’s Complaint alleges violations of Title VII of the Civil Rights Act of 1964, the
28 Fair Labor Standards Act, and the Federal Privacy Act. Accordingly, this case is a civil

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 1 action arising under the laws of the United States, that is subject to removal.
 2         9.     Under 28 U.S.C. § 1367, this Court also has supplemental jurisdiction
 3 over Plaintiff’s state law claims. Next to each federal claim, Plaintiff cites to the
 4 federal law’s state-analogous statutes. Accordingly, Defendants presume Plaintiff
 5 wishes to assert state law claims based on the same set of facts. Plaintiff also asserts a
 6 cause of action for intentional infliction of emotional distress under Arizona common
 7 law. The state-law causes of actions are so related to the asserted causes of action
 8 arising under federal law that they form part of the same case or controversy.
 9         10.    Venue lies in the United States District Court for the District of Arizona
10 pursuant to 28 U.S.C. §§ 1441(a) and 1391(a) because the action was filed in this
11 district and this is the judicial district in which the alleged events giving rise to the
12 claims occurred.
13         For the foregoing reasons, Defendants remove this case from the Superior Court
14 of the State of Arizona to the United States District Court, District of Arizona.
15         Dated: April 8, 2021.
16                                            JACKSON LEWIS P.C. By
17
                                              : /s/ Monica M. Ryden
18                                                  Monica M. Ryden
                                                    Alejandro Pérez
19                                                  Attorneys for Defendants
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                                    CERTIFICATE OF SERVICE
1
              I hereby certify that on April 8, 2021, I electronically transmitted the attached
2
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
3
     Notice of Electronic Filing to the following CM/ECF registrants and by electronic mail
4
     if not registered:
5
6 John A. Sova
  319 N. 88th Place
7 Mesa, AZ 85207
8 Jsova3253@gmail.com
  Pro se Plaintiff
9
10
     By: /s/ Miranda L. Dotson
11
12   4835-7317-7824, v. 1


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